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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 24-CR-20560


 UNITED STATES OF AMERICA

                v.

 RODERICK VANDERBILT

                   Defendant.
 ______________________________________

  GOVERNMENT’S UNOPPOSED MOTION TO AUTHORIZE ALTERNATIVE VICTIM
                    NOTIFICATION PROCEDURES

        The United States, through undersigned counsel, respectfully moves this Court, pursuant

 to 18 U.S.C. § 3771(d)(2), for authorization to use alternative victim notification procedures —

 namely, publication on a Department of Justice website — because the large number of potential

 crime victims in this case makes it impracticable to notify victims on an individualized basis. The

 Defendant does not oppose the Government’s motion. In support of its motion, the Government

 states the following:

    1. The Crime Victims’ Rights Act (“CVRA”), 18 U.S.C. § 3771, provides crime victims with

        certain rights, including the right to “reasonable, accurate, and timely notice” of public

        court proceedings. 18 U.S.C. § 3771(a). A “crime victim” is defined as “a person directly

        or proximately harmed as a result of the commission of a Federal offense . . . .” 18 U.S.C.

        § 3771(e). In cases involving “multiple crime victims” where the court “finds that the

        number of crime victims makes it impracticable to accord all of the crime victims the rights

        described in [18 U.S.C. § 3771](a), the Court shall fashion a reasonable procedure to give

        effect to this chapter that does not unduly complicate or prolong the proceedings.” 18


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       U.S.C. § 3771(d)(2).

    2. The Government respectfully submits that this case involves “multiple crime victims”

       under 18 U.S.C. § 3771(d)(2) because of the number of potential crime victims.

    3. On December 31, 2024, Defendant, the former Chairman of the Board and Principal

       Executive Officer of Vinco Ventures, Inc. (“Vinco Ventures”), was charged via

       Information with one count of conspiracy to commit securities fraud in violation of Title

       18 United States Code Section 371. According to the Information, from at least November

       2020 through at least September 2024, the Defendant conspired to defraud investors in

       Vinco Ventures’ securities.

    4. Because of the nature of Defendant’s scheme, there are numerous potential victims.

       Throughout the period of the conspiracy, Defendant and others made numerous false and

       misleading statements to investors, falsely inflating the price of Vinco Ventures stock and

       causing tens of millions of dollars in victim losses. Thus, the Government believes that

       Defendant’s crime may have affected thousands of investors and other market participants

       — all potential crime victims — who traded Vinco Ventures securities during the relevant

       period.

    5. Given the number of potential crime victims, this case involves “multiple crime victims”

       under 18 U.S.C. § 3771(d)(2) because it is impracticable for the Government to, among

       other things, identify and provide individualized notice to each potential crime victim

       pursuant to 18 U.S.C. § 3771(a).

    6. As an alternative procedure to notify potential crime victims in this case, the Government

       proposes    that   it   maintain   a   public   Department     of   Justice   website     at

       https://www.justice.gov/criminal/criminal-vns/case/united-states-v-roderick-vanderbilt.


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       The website provides a summary of the case, information regarding the case’s status, and

       other significant case-related documents, such as the charging documents and upcoming

       court hearings. The website also contains an e-mail address and telephone number for a

       Victim Assistance Line through which individual potential crime victims could contact the

       Department of Justice with questions regarding the case.

    7. Courts have authorized the use of a website by the Government to notify potential crime

       victims under the CVRA in other complex fraud cases that involved numerous potential

       victims, including cases with potential victims of conduct like that in this case. See United

       States v. Schessel, 2:22-cr-374-ES, Dkt. No. 31 (D.N.J. Nov. 21, 2022) (permitting victim

       notification via website in case charging a securities fraud scheme against former public

       company CEO alleged to have made false and misleading statements about order for

       COVID-19 test kits); see also United States v. Peizer, 2:23-cr-000089, Dkt. No. 46 (C.D.

       Cal. Apr. 24, 2023) (granting motion to permit victim notification through use of a website

       in a Rule 10b5-1 plan insider trading case involving potentially hundreds of unknown

       victims in the securities market); United States v. Zhao, 1:18-cr-24, Dkt. No. 53 (N.D. Ill.

       Jan. 23, 2019) (permitting notification of potential victims of spoofing through publication

       on a Department of Justice website as an alternative means of individualized notice);

       United States v. Elbaz, 18-CR-157-TDC, Dkt. No. 89 (D. Md. Nov. 5, 2018) (granting

       motion to permit victim notification through the use of a website in a case involving an

       alleged conspiracy to defraud investors in binary options); United States v. Babich, No. CR

       16-10343-ADB, 2017 WL 8180771, at *3 (D. Mass. Aug. 8, 2017) (finding alternative

       victim notification procedures appropriate, including the use of websites, in a fraud case

       involving a four-and-a-half year conspiracy where the government “had positively


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       identified approximately 30 victims and potentially there were thousands of victims”);

       United States v. Saltsman, No. 07-CR-641 (NGG), 2007 WL 4232985, at *2 (E.D.N.Y.

       Nov. 27, 2007) (“Given the large number of potential alleged crime victims, notification

       by publication [on the U.S. Attorney’s Office website or a Department of Justice website]

       is a reasonable procedure that will both give effect to the [statute] and will not unduly

       complicate or prolong the proceedings.”).

    8. The Government has conferred with counsel for Defendant who does not oppose this

       motion.


                                            Respectfully submitted,

                                            LORINDA I. LARYEA
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                                            U.S. DEPARTMENT OF JUSTICE

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 14, 2025, the foregoing was filed conventionally and served
 on all counsel of record as described in Local Rule 5.4.


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